OJS 45 (5/97) - (Revised U.S.D.C.
                          CaseMA    3/25/2011)
                                  1:22-cr-10038-IT      Document 13-1 Filed 02/17/22 Page 1 of 2
Criminal Case Cover Sheet                                                          U.S. District Court - District of Massachusetts

Place of Offense:                        Category No.        II                   Investigating Agency        FBI

City      Watertown                               Related Case Information:

County       Middlesex                            Superseding Ind./ Inf.                         Case No.
                                                  Same Defendant                            New Defendant
                                                  Magistrate Judge Case Number            22-MJ-4081-DHH
                                                  Search Warrant Case Number
                                                  R 20/R 40 from District of

Defendant Information:

Defendant Name         Ariel Legassa                                          Juvenile:               G Yes G
                                                                                                            ✔ No

                       Is this person an attorney and/or a member of any state/federal bar:           G     Yes ✔
                                                                                                                G No
Alias Name
Address                (City & State) Burlington, CT
                      1972 SSN (last4#):________
Birth date (Yr only): _____              0492        M
                                                 Sex _____              Race: ___________         Nationality: ____________________

Defense Counsel if known:                Peter Parker                             Address Boston, MA

Bar Number

U.S. Attorney Information:

AUSA         Benjamin A. Saltzman                                      Bar Number if applicable      683169

Interpreter:            G Yes          ✔ No
                                       G                  List language and/or dialect:

Victims:               GYes G No If yes, are there multiple crime victims under 18 USC§3771(d)(2)
                       ✔                                                                                      G Yes     9 No

Matter to be SEALED:                   G Yes     G✔     No

          G Warrant Requested                      G Regular Process                        G In Custody

Location Status:

Arrest Date                 02/02/2022

G Already in Federal Custody as of                                                  in                                     .
G Already in State Custody at                                         G Serving Sentence             G Awaiting Trial
G
✔ On Pretrial Release:   Ordered by:             Hon. Robert Richardson (D. CT)      on        02/02/2022

Charging Document:                     G Complaint                G Information                   ✔ Indictment
                                                                                                  G
                                                                                                                10
Total # of Counts:                     G Petty                    G Misdemeanor                   G Felony
                                                                                                  ✔

                                          Continue on Page 2 for Entry of U.S.C. Citations

G
✔         I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
          accurately set forth above.

Date:     02/10/2022                           Signature of AUSA:
                         Case 1:22-cr-10038-IT Document 13-1 Filed 02/17/22 Page 2 of 2
JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse


District Court Case Number (To be filled in by deputy clerk):
Name of Defendant                Ariel Legassa

                                                                     U.S.C. Citations
                Index Key/Code                                      Description of Offense Charged        Count Numbers
                                                     Mail Fraud
Set 1     18 U.S.C. § 1341                                                                           1

                                                     Mail Fraud
Set 2     18 U.S.C. § 1341                                                                           2
                                                     Mail Fraud
Set 3     18 U.S.C. § 1341                                                                           3

                                                     Mail Fraud
Set 4     18 U.S.C. § 1341                                                                           4

                                                     Mail Fraud
Set 5     18 U.S.C. § 1341                                                                           5

                                                     Mail Fraud
Set 6     18 U.S.C. § 1341                                                                           6
                                                     Mail Fraud
Set 7     18 U.S.C. § 1341                                                                           7

                                                     Money Laundering
Set 8     18 U.S.C. § 1957                                                                           8

                                                      Money Laundering
Set 9     18 U.S.C. § 1957                                                                           9

                                                      Money Laundering
Set 10 18 U.S.C. § 1957                                                                              10


Set 11


Set 12


Set 13


Set 14


Set 15

ADDITIONAL INFORMATION:




USAMA CRIM - Criminal Case Cover Sheet.pdf 3/4/2013
